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                                                          2. 999 Third Avenue, Suite 2600
                                                             Seattle, Washington 98104
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                                                             Facsimile: (206) 340-0289
                                                          4. Email:      ldarling@hwb-law.com
                                                          5. Attorneys for Plaintiffs

                                                          6.
                                                                                      IN THE UNITED STATES DISTRICT COURT
                                                          7.                               FOR THE DISTRICT OF ALASKA
                                                          8.
                                                             JAMES R. BURTON and HEATHER R.
                                                          9. BURTON, husband and wife,

                                                         10.                                    Plaintiffs,
                                                                       v.                                       IN ADMIRALTY
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                                                         11.
                                                             JERRY BLACKLER and VICKI
                                                         12. BLACKLER, husband and wife, husband and            Case No.
                          999 THIRD AVENUE, SUITE 2600

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                                                             wife, and ALPINE DIESEL, LLC, an Alaska
                               FAX (206) 340-0289




                                                         13. limited liability corporation,
                                                                                            Defendants.
                                                         14.

                                                         15.                    COMPLAINT FOR DECLARATORY JUDGMENT
                                                         16.                REGARDING LIEN CLAIM VALIDITY AND FOR DAMAGES

                                                         17.           COMES NOW plaintiff JAMES R. BURTON and HEATHER R. BURTON

                                                         18. (collectively “Burton”) by and through counsel, Holmes Weddle & Barcott, PC and

                                                         19.
                                                               complains against defendants JERRY BLACKLER and VICKI BLACKLER and
                                                         20.
                                                               ALPINE DIESEL, LLC (collectively “Alpine”) as follows:
                                                         21.
                                                                                          I.       JURISDICTION AND VENUE
                                                         22.

                                                         23.           1.      Jurisdiction is based upon 28 U.S.C. §1333, admiralty, and 28 U.S.C.

                                                         24. §1331, federal question, specifically 46 U.S.C. §31343. This is an admiralty or maritime

                                                         25.

                                                         26. COMPLAINT - 1
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                                                          1. claim within the meaning of Fed. R. Civ. P. 9(h).

                                                          2.
                                                                       2.      To the extent required the Court may exercise supplemental jurisdiction
                                                          3.
                                                               based upon 28 U.S.C. §1367 because all of the claims form part of the same case or
                                                          4.
                                                               controversy.
                                                          5.

                                                          6.           3.      At all times material herein, F/V CRICKET, O.N. 962643, its engines,

                                                          7. machinery, appurtenances, etc., was a vessel duly documented under the laws of the

                                                          8. United States and was owned by Plaintiffs. The acts and omissions which form the basis

                                                          9.
                                                               for this Complaint all occurred in this District.
                                                         10.
                                                                       4.      At all times material herein, Plaintiffs resided in the State of Alaska.
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                                                         11.
                                                                       5.      At all times material herein, upon information and belief, Defendants
                                                         12.
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                                                         13. resided in the State of Alaska.

                                                         14.                                II.     FACTUAL BACKGROUND

                                                         15.           6.      On or about June 30, 2016, the vessel CRICKET suffered a serious
                                                         16.
                                                               casualty, requiring engine replacement and additional repairs. Shortly thereafter Alpine
                                                         17.
                                                               was engaged by Burton to assist in performing repairs to the CRICKET and estimate total
                                                         18.
                                                               repair costs.
                                                         19.

                                                         20.           7.      During the initial inspection and repair phase, the parties agreed to a scope

                                                         21. of work and Alpine prepared an estimate for “complete” repairs to the vessel. This

                                                         22. estimate stated that Alpine’s charges for completed repairs to the CRICKET (excluding

                                                         23.
                                                               parts, vendors and subcontractors) would be approximately $240,000. The vessel’s
                                                         24.
                                                               condition and accompanying Alpine estimate were reviewed by an independent surveyor
                                                         25.

                                                         26. COMPLAINT - 2
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                                                          1. assigned by hull underwriters and the estimated charges were deemed fair and reasonable

                                                          2.
                                                               for the agreed scope of work. Based on this estimate, Alpine’s other representations, and
                                                          3.
                                                               the surveyor’s opinions, Burton agreed that Defendants should proceed with repairs.
                                                          4.
                                                                       8.      Both before and after the initial estimate was given, Burton informed
                                                          5.

                                                          6. Alpine, both verbally and in writing, that Burton was very sensitive to costs and would

                                                          7. not be able to tolerate significant changes or cost increases. To accommodate this, the

                                                          8. parties agreed that (a) Alpine would provide regular updates regarding progress of work

                                                          9.
                                                               and estimated costs to be incurred to both Burton and the surveyor and (b) Alpine would
                                                         10.
                                                               obtain Burton’s prior authorization for any substantial changes or cost-overruns to the
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                                                         11.
                                                               project. Despite this agreement, Alpine failed to provide any such updates and did not
                                                         12.
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                                                         13. seek Burton’s approval for changes, cost increases, or variations from the estimated

                                                         14. repair costs. Burton repeatedly emphasized the need for updates and warnings of cost

                                                         15. increases, but Alpine failed to provide these updates or notices. Alpine also failed to

                                                         16.
                                                               provide regular invoicing or other description of changes as they were being incurred to
                                                         17.
                                                               either Burton or the surveyor. At no point did Alpine obtain the surveyor’s approval that
                                                         18.
                                                               any changes or additional charges were fair or reasonable.
                                                         19.

                                                         20.           9.      Despite the agreement to provide updates and obtain pre-approval for any

                                                         21. cost increases, Alpine submitted a series of invoices ranging in the amount from

                                                         22. $581,923.50 to $534,106.75 to $521,945.75. Aside from the inherent problem of the

                                                         23.
                                                               changing invoices, all of them exceeded the original estimate by approximately
                                                         24.
                                                               $300,000. Burton did not approve these cost increases and did not authorize work on this
                                                         25.

                                                         26. COMPLAINT - 3
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                                                          1. basis. The final invoices further reflect charges that are incorrect, inaccurate, and in

                                                          2.
                                                               some cases are for work performed on other vessels. Thus, the final invoices do not
                                                          3.
                                                               reflect either the parties’ agreement as to repair costs, nor what actual work was done by
                                                          4.
                                                               Alpine on the CRICKET. Further, the assigned independent surveyor determined that the
                                                          5.

                                                          6. invoiced charges received were inflated and in gross excess of a fair and reasonable

                                                          7. amount.

                                                          8.           10.     The vessel repair work was also significantly delayed. Alpine initially
                                                          9.
                                                               estimated that installation and repair would be completed by March 2017. When project
                                                         10.
                                                               conditions changed, the parties agreed to new completion dates, at which time Alpine
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                                                         11.
                                                               “guaranteed” that all repairs would be completed and the vessel would be in operating
                                                         12.
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                                                         13. condition before June 15, 2017. Burton informed Alpine that the project was time

                                                         14. sensitive and that repairs must be completed within the estimated times or the CRICKET

                                                         15. would lose fishing time. Alpine clearly represented that repairs would be completed on

                                                         16.
                                                               time and would not interfere with fishing.
                                                         17.
                                                                       11.     Alpine failed to meet any of the agreed completion deadlines and failed to
                                                         18.
                                                               act diligently and timely in effecting the installation and repair work. As a result, repair
                                                         19.

                                                         20. completion was significantly delayed.

                                                         21.           12.     As a direct and proximate result of the delays in the project caused by

                                                         22. Alpine, Plaintiff was unable to operate the CRICKET in planned fisheries and lost

                                                         23.
                                                               income from the vessel as a result. Based on catch data and historical performance,
                                                         24.
                                                               Plaintiffs’ lost profits as a result of the delays to completion and breached promises
                                                         25.

                                                         26. COMPLAINT - 4
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                                                          1. exceed $100,000.

                                                          2.
                                                                       13.     On or about October 31, 2017, Alpine filed a Notice of Claim of Lien
                                                          3.
                                                               with the United States Coast Guard, claiming a maritime lien for “vessel modification
                                                          4.
                                                               and repair” in the amount of $488,407.31.
                                                          5.

                                                          6.
                                                                    III.      FIRST CAUSE OF ACTION – VESSEL NOT SUBJECT TO LIEN
                                                          7.
                                                                       14.     A party may claim a maritime lien against a vessel only insofar as he has
                                                          8.
                                                               provided services and supplies that benefit the vessel and to the extent they were
                                                          9.

                                                         10. authorized by the owner. The unreported, unauthorized, and increased parts and service
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                                                         11. charges that form the basis for Alpine’s lien claim were not authorized by Burton and

                                                         12. therefore do not constitute a maritime lien against the Vessel.
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                                                         13.
                                                                       15.     Therefore, pursuant to 46 U.S.C. §31343(c)(2), Burton requests that the
                                                         14.
                                                               Court declare that the Vessel is not subject to the lien filed against it by Defendants under
                                                         15.
                                                               46 U.S.C. §31343(b) in the amount of $488,407.31.
                                                         16.

                                                         17.            IV.     SECOND CAUSE OF ACTION – BREACH OF CONTRACT

                                                         18.           16.     The parties entered into a contract for repairs to the CRICKET. This is a

                                                         19. maritime contract. Under the parties’ agreement, Alpine was required to perform the

                                                         20.
                                                               contracted-for repair work and supply the agreed materials based on the original estimate,
                                                         21.
                                                               or as further authorized by Burton. Alpine performed unauthorized and unnecessary
                                                         22.
                                                               work on the CRICKET and claims charges that were never approved as agreed, and these
                                                         23.

                                                         24. unapproved changes form the basis for Alpine’s lien claim.

                                                         25.           17.     The parties further agreed on completion dates for vessel repair dates

                                                         26. COMPLAINT - 5
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                                                          1. which were amended by agreement.              In addition, Alpine made specific and clear
                                                          2.
                                                               promises to Burton regarding completion dates and when the vessel would return to
                                                          3.
                                                               service. Alpine failed to complete work as agreed or as promised, causing a delay of
                                                          4.
                                                               over one month in the CRICKET’s 2017 fishing operations, causing Plaintiffs to lose
                                                          5.

                                                          6. profits in excess of $100,000.

                                                          7.                                   V.       RELIEF REQUESTED

                                                          8.           WHEREFORE, Plaintiffs pray for judgment as follows:
                                                          9.
                                                                       1.      For a declaration that the F/V CRICKET, O.N. 962643, is not subject to
                                                         10.
                                                               the Notice of Claim Lien filed by Alpine on October 31, 2017 in the amount of
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                                                         11.
                                                               $488,407.31;
                                                         12.
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                                                         13.           2.      For an award of attorney’s fees and costs to Plaintiffs pursuant to 46

                                                         14. U.S.C. § 31343(c)(2).

                                                         15.           3.      For a judgment in favor of Plaintiff and against Defendants for damages
                                                         16.
                                                               for any and all consequences of Alpine’s unauthorized repairs and delayed completion,
                                                         17.
                                                               including but not limited to loss of use and lost profits.
                                                         18.
                                                                       4.      For an award of attorney’s fees, as provided by statute or under Alaska
                                                         19.

                                                         20. Civil Rule 82.

                                                         21.           5.      For an award of such other and further relief as in law and equity Plaintiffs

                                                         22. may be entitled to receive.

                                                         23.
                                                               ////
                                                         24.
                                                               ////
                                                         25.

                                                         26. COMPLAINT - 6
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                                                          1.           DATED this 14th day of December, 2017
                                                          2.                                            HOLMES WEDDLE & BARCOTT, PC
                                                          3.
                                                                                                          s/ Lafcadio Darling
                                                          4.                                            Lafcadio Darling, ABA#1510084
                                                                                                        999 Third Avenue, Suite 2600
                                                          5.                                            Seattle, Washington 98104
                                                                                                        Telephone: (206) 292-8008
                                                          6.                                            Facsimile: (206) 340-0289
                                                                                                        Email:      ldarling@hwb-law.com
                                                          7.                                            Attorney for Plaintiffs
                                                          8.

                                                          9.

                                                         10.
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                                                         11.

                                                         12.
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                                                         13.

                                                         14.

                                                         15.

                                                         16.

                                                         17.

                                                         18.

                                                         19.

                                                         20.

                                                         21.

                                                         22.

                                                         23.

                                                         24.

                                                         25.

                                                         26. COMPLAINT - 7
                                                               Burton v Blackler & Alpine Diesel, LLC
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